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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

JOAN DOE                                                                             PLAINTIFF

v.                                      No. 5:22-cv-05137

BOARD OF TRUSTEES FOR THE
UNIVERSITY OF ARKANSAS, et al.                                                   DEFENDANTS

                                              ORDER

       Plaintiff has filed a motion (Doc. 38) to extend the discovery deadline in this matter from

August 15, 2023 until September 30, 2023. In the motion, Plaintiff represents that she propounded

requests for production to Defendants, that Defendants objected, and that the parties were unable

to resolve the objections over a 90-minute teleconference. (Doc. 38, p. 1). Plaintiff seeks the

extension in order to resubmit her requests in a modified form to “invite Defendant’s [sic]

reasonable cooperation.” Id. at 2. She also cites her own busy schedule and limited resources as

reasons for an extension. Id. at 3–4.

       The Court will not extend the discovery deadline. Although Plaintiff is not currently asking

for an extension of the trial date, realistically speaking, postponing the end of discovery in this

matter will not leave enough time to resolve motions for summary judgment prior to the start of

trial. While the Court appreciates that Plaintiff has constraints on her time, the Court’s own busy

docket makes it highly impractical for the Court to reschedule the trial in this matter. Therefore,

the Court will not consent to the extension. See Fed. R. Civ. P. 16(b)(4). Discovery is to be

completed by August 15 as scheduled.

       However, in the interest of allowing full discovery in the allotted time period, the Court

will treat the motion to extend as a motion to compel. The parties have already conferred in good

faith in an attempt to resolve Defendants’ objections and have been unable to do so. Accordingly,
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the discovery dispute may properly be addressed to the Court at this time. See Doc. 32, p. 1. The

Court has set forth a streamlined timetable for resolution of this motion below.

       IT IS THEREFORE ORDERED:

   •   The deadline for discovery in this matter, currently set for August 15, WILL NOT BE

       EXTENDED.

   •   Plaintiff’s motion (Doc. 38) to extend the deadline is treated as a motion to compel.

       Plaintiff will have until Thursday, August 3, to file a memorandum in support of the motion

       which details her responses to Defendants’ objections. If she desires to narrow or withdraw

       any of her requests for production, she may do so in the memorandum. However, Plaintiff

       may not use the memorandum to convert any of her requests for production into

       interrogatories.

   •   After Plaintiff submits her memorandum, Defendants will have until Thursday, August 10,

       to file a response justifying or withdrawing each of their objections.

       IT IS SO ORDERED this 28th day of July, 2023.


                                                             /s/P. K. Holmes, ΙΙΙ
                                                             P.K. HOLMES, III
                                                             U.S. DISTRICT JUDGE
